           Case 2:02-cr-00418-GEB-KJN Document 215 Filed 11/22/11 Page 1 of 2




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 8                            IN THE UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,

11                  Respondent,                           No. CR S-02-0418 GEB GGH P

12          vs.

13   FERNANDO LOPEZ-CUEVAS,

14                  Movant.                               ORDER

15                                          /

16                  Movant is a federal prisoner proceeding pro se with a motion to vacate, correct or

17   set aside his sentence pursuant to 28 U.S.C. § 2255. The matter was referred to a United States

18   Magistrate Judge pursuant to 28 U.S.C. § 636(b)(1)(B) and Local Rule 302.

19                  On October 20, 2011, the magistrate judge filed findings and recommendations

20   herein which were served on all parties and which contained notice to all parties that any

21   objections to the findings and recommendations were to be filed within twenty-one days.

22   Petitioner has filed objections to the findings and recommendations.

23                  In accordance with the provisions of 28 U.S.C. § 636(b)(1)(C) and Local Rule

24   304, this court has conducted a de novo review of this case. Having carefully reviewed the entire

25   file, the court finds the findings and recommendations to be supported by the record and by

26   proper analysis.

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           Case 2:02-cr-00418-GEB-KJN Document 215 Filed 11/22/11 Page 2 of 2




 1                 Accordingly, IT IS HEREBY ORDERED that:

 2                 1. The findings and recommendations filed October 20, 2011, are adopted in full;

 3                 2. Movant’s motion to vacate, correct or set aside his sentence pursuant to 28

 4   U.S.C. § 2255 (Doc. 176) is denied; and

 5                 3. The clerk of the court is directed to close the companion civil case No. CIV S-

 6   09-cv-2876 GEB GGH.

 7                 4. A certificate of appealability shall not issue in this action

 8   Dated: November 22, 2011
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10                                             GARLAND E. BURRELL, JR.
                                               United States District Judge
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